95 F.3d 1159
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.John LIVINGSTON, Defendant-Appellant.
    No. 95-56192.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 6, 1996.*Decided Aug. 8, 1996.
    
      Before:  REINHARDT, HALL, and LEAVY, Circuit Judges.
    
    
      1
      ORDER**
    
    
      2
      The district court's order dismissing the plaintiff's double jeopardy claim is affirmed.  See United States v. Ursery, 64 USLW 4565 (June 24, 1996).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.Rule 36-3
      
    
    